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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 IN RE PHARMACEUTICAL INDUSTRY )                      MDL No. 1456
 AVERAGE WHOLESALE PRICE       )
 LITIGATION                    )                      Master File No. 01-cv-12257-PBS
                               )
                               )                      Subcategory No. 06-11337-PBS
                               )                      Civil Action No. 08-cv-10852
 THIS DOCUMENT RELATES TO:                        )
 United States of America ex rel. Ven-A-          )   Judge Patti B. Saris
 Care of the Florida Keys, Inc., by and           )
 through its principal officers and directors,    )
 Zachary T. Bentley and T. Mark Jones v.          )
 Actavis Mid Atlantic LLC, et al.                 )
                                                  )


                 [PROPOSED] ORDER ON JOINT MOTION TO EXTEND
                      THE 90-DAY ORDER OF DISMISSAL AS TO
                   DEFENDANTS PAR PHARMACEUTICAL, INC. AND
                     PAR PHARMACEUTICAL COMPANIES, INC.

       The Court having reviewed the Parties’ Joint Motion to Extend the 90-Day Order of

Dismissal and having been advised that the Parties need additional time to file all necessary

documents with the Court per the Parties’ settlement agreement:

       IT IS ORDERED that the time period to reopen the action if settlement is not

consummated in the Settlement Order of Dismissal dated May 27, 2011 is extended up to and

including September 2, 2011.

       SO ORDERED by the Court.

       Entered ____ day of _____________, 2011.


                                                 ______________________________________
                                                 THE HONORABLE PATTI B. SARIS
                                                 UNITED STATES DISTRICT COURT JUDGE
